Case 9:07-cv-80138-D|\/||\/| Document 48-3 Entered on FLSD Docket 10/03/2007 Bé`©%llo§ii?

Johanne Semexant

 

From: Johanne Semexant

Sent: Wednesday, September12, 2007 5:01 PM
To: 'frankmckeown@j. mo.com'

Cc: Stacey Cohen; Gregg Shavitz

Subject: Sullivan v. Lana Marks

Attachments: Su||ivan-St.C|aire Executed SA.pdf

VIA E-]\MIL, FACIMILE and U.S. M¢lIL
Mr. McKeown:

Attached, please find a copy of the Settlement Agreement executed by Plaintiffs. The original
Settlement Agreement Will be forthcoming via U.S. Mail. Please have your client execute same and
forward a copy for our records.

Should you have any questions, feel free to contact us.
Regards,

Johann L. Semexant
Paralegal to Gregg I. Shavitz, Esq.
Stacey H. Cohen, Esq.

Shavitz Law Group, P.A.

1515 South Federal Highway, Suite 404
Boca Raton, FL 33432

(561) 447-8888 - Tel

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EXH|B|T

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1515 S. Federal Hwy, Suite 404 l Boca Raton, Florida 33432
Www.shavitzlaw.com

FACS[MILE TRANSMITTAL COVER SI-]EET

TO: `Frank James McKeoWn, Jr., Esq.

FAX NO.: 561-688-9985

IN RE: Sullivan v. Lana Marks, et al.

FROM: Gregg l. Shavitz, Esq. / Stacey H. Cohen, Esq.

NUMBER OF PAGES: Q (Including transmittal coversheet)

DATE TRANSMITTED; september 12, 2007

PLEASE FIND A COPY OF MY E-MAIL DATED SEPTEMBER 12, 2007

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FOR POSTAGE. Thank you.

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TRANSMISSIDN UERIFICATIDN REPDRT

 

 

 

TIME : EQFleQ@@? 1?:@9
NAME : SHAUITZ LAW

FAX : 561-44?-8831

TEL : 561-44?-8888
SER.H : BRDKlJEEB?Q?

 

 

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FAX NU.HNAME 15515889985

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SETTLEMENT AGREEMENT AN`D
FULL AND FINAL MUTUAL RELEASE OF ALL CLAIMS

l. This Agreement covers all understandings between SAMJRA SULLIVAN
and SUZANNE ST. CLAlRE, (hereina&er referred to ns "Pleintiffs") and LANA MA.RKS
LTD, lNC., a Florida corporation, LANA J. MARKS, individually, (hereinafter
collectively referred to as "Defendants" a term which includes each and every otiicer_.
director, employee, agent1 parent corporation or subsidiary, affiliate or division, its
successors, assigns beneficiaries servants, legal representatives insurers and heirs).

2. For and' m consideration of the promises outlined` m Paragraph 3 of this
Agreement, Plaintit`fs agree as followa:

A. To settle any and all claims and actions of any nature whatsoever between
Plaintit`t".-. and Defendants, and release and forever discharge Defendants,
and any and all of their ofticers, directors, employees, administrators and
successors, of and from all and any manner of actions, causes of actions,
suits, rights to attorney fees, debts, claims and demands whatsoever in law
or equity by reason of any mattor, cause or thing whatsoever,._from thc
beginning of the world to the effective date of this Agreement, and
particularly, but without limitation of the foregoing general terms. by
reason of any claims or actions arising from Plaintit`fs’ previous
employment or separation from employment With Defendants, or related to v
the transactions or matters which are the subject matter of the lawsuit Case
NO.: 07-80138-CIV-MIDDLEBROOKS/JOHNSON pending in the Unlted
Statcs District Court for the Southem District of l"`lorida, including without
limitation any claims arising from any alleged violation of any and all
federal. Sl/atc. or lOC`»S.l lawS. including the Employee Retirement lncome
Security Act of 1974, the Civ'il Rights Acts of 1866, 187l, 1964, and l99l,
the Rehabilitation Act of 1973, the Falr Labor Standards Act, the Equa| Pay
Act of 1963, the Vietnam Era Veterans' Readjustment Assistance Act ot`
1974, the Occupational Sat`ety and l-Iealth Act, the lmmigration Reform and
Contro| Act of 1986, the Americwls with Disabilities Act, the Ag€
Discrimination in Employment Act of 1967, the Older Workers' Benet`lt
Protection Act. and the F`lnrlda. (".ivil Rights Act, and all other rights and
claims under all other federal, state and local provisions and all other
statutory and common law causes of action, and including any attorney’s
fees collectible by or owed to Plaintiti`s, from the beginning ot` the world to
the effective date of this Agreement.

s. 'ro dismiss ease No.:ov-soiss-ccv-Mml)taanool<s/101-olson pending

in the llnited Sta.t.es l`.)istrict Court for the Southem District ot'Florida, with
prej udice.

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C. To agree and acknowledge that this settlement is the compromise of a
disputed claim and does not constitute an admission by Defendants of any
violation of any federal, state, or local statute or regulation or any violation
of any of P`laintift`s’ rights or of any duty owed by Defendants to `Plaintit`t`s.

D. That the below-referenced amount paid by Defandants represents a sum to
which Plaintift`s would not be entitled absent this Agreement'.

3. For and' in consideration for the performance of the covenants of Plaintiffs
in Paragraph 2 of this Agreement, Det`endants agree to pay on or before September lO,
2007, the total amount ot' Twenty Thousand Dollars and No Cents ($20, 000. 00) payable to
Shavitz Law Gro'up, P.A. (Tax ID # XX-XXXXXXX).

4. In exchange for the consideration above, Dei"endants release Plaintiffs from
any and all claims, charges, actions and causes of action cf any kind or nature that
Det`cndants once had or now has, whether arising out of Plaintiffs’ employment, or
otherwise, and whether such claims are now known or unknown to Dei"eudants from the
beginning of the world to the date of payment, per paragraph No. 3 above, including but
not limited to Defendants’ `Verified Set-Ot’t` and Counterclaim, Case No.: 07-80138-CIV-
M]DDLEBROOKS/JOHNSON, filed on Jul'y 6, 2007, Docket Entry No. 27. Such is the
general release from Dct"endants to PlaintiF£

5. Dcfendants agree not to disclose the existence or contents o'l" this
Agreement to any prospective employer of either Plaintii"f`. Il" Del"endants are contacted
by any prospective or current employer Of either P'laintif`f, it may confirm dates Oi"
employment only, and job position, but shall not make any disparaging remarks about or
against Plaintif’t`s, or one of them.

6. The Plaintii`f`s acknowledge that maintaining the Det`endants’ good
reputation in the community is of paramount importance to the Dei`endants. Accordingly,
the Plaintit`i"s agree that they will not disparage or encourage or induce others to disparage
the Det`cndants by any type oi` conununicatiun, whether verbaliy, in writing, through
gesture or other non»verbal means, or otherwise.

7. in the event that Plaintil"`t`s, or one ot` them, or Defendants commence an action
'i`or damages, injunctive relief, or to enforce the provisions of the Agrecmcnt, the
prevailing party in any such action shall be entitled to an award of its reasonable
attorney's fees and all costs including appellate fees and costs, incurred in connection
therewith as determined by the court in any such action.

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8. Plaintit`fs and Defendants agree that this Settlement Agreement is entered into
knowingly and voluntarily, a't`ter having the opportunity to fully discuss it with an
attorney. Having had the opportunity to obtain the advice of legal counsel to review,
comment upon, and redralt the agreement, the parties agree that the Agreement shall be
construed as if the parties jointly prepared it so that any uncertainty or ambiguity shall
not be interpreted against any one party and in favor of the other.

9. This Agreement supersedes all prior agreements and understandings between
Plaintiff` and Defendants. No cancellation, modification, amendments deletion, addition,
or other changes in the Agreement or any provision hereof or any right herein provided
shall be effective for any purpose unless specifically set forth in a subsequent written
agreement signed by both Plaintitt`s and an authorized representative of Defendants.

]0. Should any provision of this Agreement be declared or_ determined by any
court of competent jurisdiction to be illegal or invalid, the validity of the remaining parts,
terms or provisions shall not be affected thereby and said illegal or invalid part. term or
provision shall be deemed not to be a part of the Agreement and all other valid provisions
shall survive and continue to bind the parties

.ll. T his Agreement may be executed in counterparts, Which When taken
together shall constitute a binding agreement /\. copy or facsimile of this Agreement
shall be fully binding upon the parties.

l2. The law governing this Agreement shall be that of the United States and the
Srate of `Florida. ln the event of any dispute concerning this Agreernent the prevailing
party shall be entitled to recover from the non-prevailing party its attomey’s fees and

    

 

 

 

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SAMIR.$seteivaN--'/‘
DATE: Signature:
SUZANNE ST. CLAIRE
DATE: Signature:

Authorized Representative oi`
LANA MARKS LTD., INC.

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8. Piaintii‘fa and Dci`endants agree that this Scttlcmcnt Agrcemcnt is entered into
knowingly andrugltuttalii§l.zz€tnn\hasdgg aim oppost!mil.y.ttc\' t`uliy discuss it with an
atlorne_v. Having had the opportunity to obtain the advice of legal counsel to rcview.
comment upon` and redraft the agreemem, the parties agree that the Agreement shall be
construed as il` the parties jointly prepared it so that any uncertainty or ambiguity shall
not be interpreted against any one party and in Favor o[lhe olher.

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Plaimifi` and Det`endants. No oancellation, modification amendment, deletion. addition.
Qr other chang¢;.; in the /.\greement or any provision hereof or any right herein provided
shall be el`l`ective l`or any purpose unless specifically 5e1 forth in a subsequent written
agreement signed by both Plainlii`l`s and an authorized representative ofDefendants.

l()_ Should any provision of this Agreement be declared or determined by any
court of competenljurisdicl'ion to be illegal or invalid. the validity of the remaining parts.
terms or provisions shall not be affected thereby and said illegal or invalid part, term or
provision shall be deemed not to be a part of" the Agreement and all other valid provisions
shall survive and continue to bind the parties.

]l_ This Agreement may be executed in counterparts. which when taken
together shall constitute a binding agreement A copy or facsimile of this Agreement
shall be fully binding upon the parties. -

12. T`he law governing this Agreement shall be that of_thc United States and the
State ot` Florida. ln the event of` any dispute concerning this A.greement the prevailing

party shall be entitled to recover from the non-prevailing party its attomey’s fees and
costs

[)ATE;"_.*_ . Signature;

i)/\'rt;;§i 2 ll 197 signed er

DATE: Signature:

 

SAMIRA SULL|VAi\`

 
   
  

E ST. C|_.AlRi:",

 

Authorized Representative of
LANA MARKS L`l`D_. [NC.

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